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1
                         UNITED STATES DISTRICT COURT
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                        CENTRAL DISTRICT OF CALIFORNIA
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                                 SOUTHERN DIVISION
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5    MISS GLOBAL ORGANIZATION, Case No.: 8:17-cv-2223 DOC (KESx)
     LLC, a California limited liability
6    company and VAN PHAM, an            ORDER GRANTING IN PART
     individual,                         PLAINTIFFS’ MOTION TO VACATE
7                                        DISMISSAL AND ENFORCE THE
                 Plaintiff,              SETTLEMENT AGREEMENTAND
8           v.                           FOR DAMAGES, ATTORNEYS’ FEES,
                                         AND SANCTIONS
9    SOKHUNTEA MAK, a/k/a TEA
     MAK, an individual; SCOTT            Hearing Date: August 26, 2019
10   WARE, an individual; and DOES 1- Time:             8:30 a.m.
     10, Inclusive,                       Courtroom: 9D
11                                        Judge:        Hon. David O. Carter
               Defendants.
12   _____________________________
     ____________
13   SOKHUNTEA MAK, a/k/a TEA
14   MAK, an individual; SCOTT
     WARE, an individual; and DOES 1-
15   10, Inclusive,

16           Counterclaim Plaintiffs,
            v.
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     MISS GLOBAL ORGANIZATION,
18   LLC, a California limited liability
     company and VAN PHAM, an
19   individual,
20         Counterclaim Defendants
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22
           Before the Court is Plaintiffs and Counterdefendants Van Pham (“Pham”)
23
     and Miss Global Organization’s (“MGO”) (collectively “Plaintiffs”) Motion to
24
     Vacate the Dismissal and Enforce the Settlement Agreement and For Damages,
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     Attorneys’ Fees, and Sanctions (“Motion”) (Dkt. 136). The Court heard oral
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     arguments on August 23, 2019 and August 26, 2019. Having reviewed the papers
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1    and considered the parties’ arguments, the Court GRANTS IN PART and DENIES
2    IN PART Plaintiffs’ Motion.
3    I.    Background and Procedural History
4          This case arose from a dispute over Miss Global Organization (“MGO”),
5    which is the organizer of Miss Global, an annual beauty pageant. See Complaint
6    (Dkt. 1) ¶ 13. Plaintiffs Pham and MGO brought suit against Defendants
7    Sokhuntea Mak (“Mak”) and Scott Ware (“Ware”) (collectively “Defendants”)
8    under federal and state law. See Compl.at 1.
9          In Plaintiffs’ Complaint, Mr. Pham alleged that he is the founder, sole
10   owner, and CEO of MGO. Compl. ¶ 2. Plaintiff Pham also stated that he owns a
11   federal trademark, Registration No. 4,219,443 issued by the U.S. Patent and
12   Trademark Office on October 2, 2012 for “G MISS GLOBAL,” and that he owns
13   the common law trademark for “Miss Global,” which he has continuously used in
14   California and nationwide since at least 2012. Id. ¶¶ 9–10.
15         Plaintiffs alleged that Defendants Mak and Ware incorporated the Miss
16   Global Foundation in September 2017, and operated a website on behalf of the
17   Foundation, www.missglobalfoundation.org. Id. ¶ 19. In November 2017,
18   Defendants fraudulently filed a Statement of Information (SOI) with the California
19   Secretary of State listing Mak as the founder and CEO of MGO. Id. ¶ 20. Plaintiffs
20   further alleged that Defendants have hacked into Pham’s email, web-hosting
21   account, and financial information, and that Defendants have falsely represented to
22   third parties that Mak is the President and CEO of MGO and that Pham is
23   “attempting to defraud the business.” See id. ¶¶ 21–33.
24         On December 12, 2018 Plaintiffs filed an ex parte Motion for a TRO and
25   Preliminary Injunction because Plaintiffs alleged that Defendant Mak had
26   continued to file fraudulent SOIs removing Pham as the sole owner and CEO of
27   MGO, and listing Mak as the sole owner and CEO of MGO. Mot. at 2. Plaintiffs
28   further alleged that Defendants took control of the Miss Global Organization

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1    Facebook page, control of www.missglobal.com, partial control of the Miss Global
2    Organization Instagram account, and edited the relevant Wikipedia page to name
3    Mak as the owner of MGO. Id. at 3–4. The Court issued Plaintiffs’ TRO on
4    December 14, 2019 and Preliminary Injunction of December 21, 2019 returning
5    the MGO social media sites to Plaintiffs’ control and enjoining Defendants from
6    engaging in certain related complained of behaviors.
7          On May 15, 2019, the parties and their respective counsels were
8    ordered to attend a settlement conference with the Magistrate Judge Karen E.
9    Scott and the parties reached a binding settlement, which was memorialized
10   by a term sheet which was read into the Court’s record and agreed to by all
11   parties. One term reflected the parties’ agreement that counsel would
12   cooperate to draft a written settlement agreement within 45 days, and noted
13   that any disagreements that arose during the drafting processing would not
14   affect the settlement’s enforceability. (Dkt. 125).
15         On May 16, 2019, the parties notified the Court that the parties had reached
16   a binding settlement (Dkt. 123) and on May 17, 2019 the Court issued an Order
17   Dismissing the Civil Case without prejudice but retained jurisdiction the Court
18   explicitly retained jurisdiction for forty-five (45) days to vacate the Order and
19   reopen the action upon showing of good cause that the settlement was not
20   consummated. (Dkt. 124).
21         On June 26, 2019, Plaintiff’s counsel emailed the chambers of the
22   Magistrate Judge Karen E. Scott (copying defense counsel) and described
23   certain problems that had arisen during the parties’ effort to draft a written
24   settlement agreement. The Court ordered all parties and their attorneys to
25   attend a second settlement conference on July 8, 2019 and extending its
26   jurisdiction over the case until September 3, 2019. During the second
27   settlement conference the parties were unable to resolve their differences.
28   (Dkt. 131).

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1            On July 29, 2019, Plaintiffs filed Plaintiffs’ Motion alleging Defendants
2    had: 1) refused to participate in the drafting of the written settlement agreement; 2)
3    refused to remit the agreed upon settlement payments; 3) breached the non-
4    disparagement term of the settlement agreement; 4) breached the settlement
5    agreement term regarding the identity of the founder of MGO by claiming to “have
6    started MGO” and to have “helped create the Miss Global Brand” on a radio
7    interview; 5) refused to acknowledge the settlement agreement or sign any version
8    of the written settlement agreement; and 6) otherwise failed to consummate the
9    settlement.
10   IV. Discussion
11           Having considered the arguments made by all parties in relation to Plaintiffs’
12   Notice of Motion and Motion to Vacate the Dismissal and Enforce the Settlement
13   Agreement and for Damages, Attorneys’ Fees and Sanctions on August 23, 2019
14   and August 26, 2019, and having confirmed with Magistrate Judge Karen E. Scott
15   that the parties entered a valid and binding settlement agreement on May 15, 2019,
16   and having found sufficient evidence that Defendants breached the settlement
17   agreement, and having found good cause, the Court GRANTS IN PART and
18   DENIES IN PART Plaintiff’s Motion.
19   V.      Disposition
20           For the reasons set forth above and stated on the record on August 23, 2019
21   and August 26, 2019, the Court GRANTS IN PART and DENIES IN PART
22   Plaintiffs’ Motion to Vacate the Dismissal and Enforce the Settlement Agreement
23   and For Damages, Attorneys’ Fees, and Sanctions. The Court relies on the terms of
24   the settlement as stated on the record before Judge Karen E. Scott on May 15,
25   2019.
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2        For the reasons stated above and on the record on August 23, 2019 and
3    August 26, 2019, the Court hereby VACATES the ORDER DISMISSING the
4    CIVIL CASE issued on May 17, 2019 (Dkt. 124) and, based on the material terms
5    of the settlement as recorded before Judge Karen E. Scott on May 15, 2019, the
6    Court ORDERS the following:
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8        1) Defendants are to pay Plaintiffs the sum of ten thousand dollars ($10,000),
9           due on or before September 9, 2019. Defendants are to pay Plaintiffs the
10          sum of forty thousand dollars ($40,000), due on or before September 16,
11          2019.
12       2) Defendants shall not dispute that Pham is the sole founder and owner of
13          MGO, Pham is the owner of the MGO intellectual property, including but
14          not limited to, federally registered trademarks G MISS GLOBAL,
15          registration no. 85477157, MISS GLOBAL, registration no. 4140556; and
16          common law trademark MISS GLOBAL, Pham is the owner of the MGO
17          social media sites (Facebook, Instagram, Twitter), and Pham is the owner
18          of the MGO pageant business;
19       3) All parties shall permanently cease and desist making any disparaging
20          communication regarding each other;
21       4) All claims and counterclaims are dismissed with prejudice;
22       5) To the extent that further litigation is needed to enforce the settlement, the
23          parties may litigate any disputes in Superior Court, including disputes
24          regarding attorneys’ fees associated with the action.
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1        IT IS SO ORDERED.
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4                                           __________________________
                                            DAVID O. CARTER
5                                           U.S. District Judge
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     Dated: September 3, 2019
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